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                       UNITED STATES DISTRICT CO
                     SOUTHERN DISTRICT OF CALIF


UNITED STATES OF AMERICA,                  CASE NO. 13C 08$:           . u.s. DISTRICT COuRT
                                                            :;()liTi-lER~ D'S7RICT OF C..:ILIFORNIA
                                                            BY                            DEPUTY
                      Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
LUIS MIGUEL YANEZ-LOPEZ (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

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 X__ of the offense(s) as charged in the Indictment/Information:

     31:5332(a)and(b);18:2; 31:5332(b) (2) - Bulk Cash Smuggling; Aiding

      And Abetting; Criminal Forfeiture

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 04/23/13
                                            Thomas   J~
                                            U.S. District Judge
